Case: 4:15-cr-00049-CDP Doc. #: 714 Filed: 07/08/20 Page: 1 of 3 PageID #: 4399




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
                      Plaintiff,             )
                                             )
               v.                            )       No. 4:15 CR 049 CDP
                                             )
NIHAD ROSIC,                                 )
                                             )
                      Defendant.             )

  STATEMENT OF THE UNITED STATES REGARDING PRESENTENCE REPORT

       COMES NOW the United States of America, by and through its attorneys, Jeffrey B.

Jensen, United States Attorney for the Eastern District of Missouri, and Matthew T. Drake,

Assistant United States Attorney for said district, and pursuant to Paragraph 7 of the

Administrative Order of this Court (July 12, 1988), advised that, the United States accepts and has

no objection to the Presentence Report.

       The parties agreed upon a factual basis in the plea agreement and recommended

calculations pursuant to the United States Sentencing Guidelines. Those facts and

recommendations are consistent with information and calculations contained in the U.S. Probation

Office Presentence report. Inasmuch, the United States respectfully requests that the Court adopt

the findings of fact and conclusions of law as presented in the Presentence report.

       The Defendant’s only remaining objection is to paragraph 52 of the Presentence Report,

that being the characterization of his role as equal in culpability with co-defendant Ramiz Hodzic.

The Government agrees with the Presentence Report conclusion in paragraph 52 and on page 2 of

the Addendum. The Government’s position is that while their roles may have been different, co-

defendant Ramiz Hodzic are equally culpable. Co-defendant Ramiz Hodzic was the primary
Case: 4:15-cr-00049-CDP Doc. #: 714 Filed: 07/08/20 Page: 2 of 3 PageID #: 4400




organizer of the conspiracy and Defendant Rosic was the only charged member of the conspiracy

who tried to travel to Syria, twice (first on July 20, 2014 and again on December 7, 2014), to join

Abdullah Pazara and engage in violent activities. This is further described in paragraphs 46 and 48

of the Presentence Report. The Presentence report identifies the defendant’s intended travel plans

in paragraphs 49 and 50. Defendant Rosic similarly admitted in the plea agreement that, “in May

2014, Defendant Rosic communicated directly with Pazara concerning Defendant Rosic's plans to

travel to Syria, meet Pazara and join him in combat against the Syrian government of Bashar al

Assad and others. Inasmuch, the Government’s position is consistent with the presentence report

that Ramiz Hodzic and Defendant Rosic are the most culpable.

                                             Respectfully submitted,

                                             JEFFREY B. JENSEN
                                             United States Attorney

                                               /s/ Matthew T. Drake
                                             MATTHEW T. DRAKE, #46499
                                             Assistant United States Attorney
                                             Thomas F. Eagleton Courthouse
                                             111 South 10th Street, 20th Floor
                                             St. Louis, Missouri 63102
Case: 4:15-cr-00049-CDP Doc. #: 714 Filed: 07/08/20 Page: 3 of 3 PageID #: 4401




                                CERTIFICATE OF SERVICE

The undersigned certifies that a true and correct copy of Government’s Acceptance of the
PreSentence Report was electronically filed and served on the Court’s electronic filing system
for defense counsel JoAnn Trog.

Dated:        July 8, 2020


                                     JEFFREY B. JENSEN
                                     United States Attorney

                                     /s/ Matthew T. Drake
                                     MATTHEW T. DRAKE – 46499MO
                                     Assistant United States Attorney
